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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 ZHIGES SHAHIDI,                                   §
                                                   §
                                      Plaintiff,   §
                                                   §
 v.                                                §   Civil Action No. 3:22-CV-1172-D
                                                   §
 JOHN ALLEN et al.,                                §
                                                   §
                                  Defendants.      §


                       Scheduling Proposal Due Date: September 12, 2022

                                               ORDER

        This order is entered pursuant to Fed. R. Civ. P. 16(b) and 26(f) and the court’s Civil Justice
Expense and Delay Reduction Plan (the “Plan”) to facilitate entry of a scheduling order under Rule
16(b). The order also contains preliminary information intended to help the parties comply with
the applicable rules and procedures. The Federal Rules of Civil Procedure and the local civil rules
in effect on the date of this order, together with amendments to these rules that take effect while
the case is pending, apply to this case.

                              I. ELECTRONIC FILING OPTIONAL

       A party may file pleadings, motions, or other papers on paper. Filing by electronic means
is permitted, not required. See N.D. Tex. Civ. R. 5.1(e).

                             II. “JUDGE’S COPY” NOT REQUIRED

        The parties are excused from submitting the “judge’s copy” of a pleading, motion, or other
paper required by N.D. Tex. Civ. R. 5.1(b). The court will specifically request a judge’s copy if
one is needed.

                         III. INITIAL DISCLOSURE REQUIREMENTS
                                 AND OBJECTION PROCEDURE

        The initial disclosure requirements of Rule 26(a)(1) apply to this case unless Rule
26(a)(1)(B) exempts disclosure or the parties stipulate otherwise. If, during the Rule 26(f)
conference process, a party objects that initial disclosures are not appropriate and states the
objection in the scheduling proposal, see Rule 26(a)(1)(C), the party must file a separate letter with
the proposal that alerts the court to the fact that the objection has been made.
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                                 IV. RULE 26(f) CONFERENCE

        No later than seven days before the scheduling proposal due date, lead counsel for each
party (or a designee attorney with appropriate authority) must meet in person at a mutually
agreeable location, and confer on the matters specified in Rule 26(f)(2) and this order. Under Rule
26(f)(2) “[t]he court may order the parties or attorneys to attend the conference in person.” The
court rarely excuses the attorneys from the requirement that they meet “in person,” and it never
does so unless a party obtains advance approval. The requirement of an in-person meeting does
not apply, however, if one or more parties are proceeding pro se. In that instance, the Rule 26(f)
conference may be conducted telephonically, by mail, or by other means that will accomplish the
conference requirement.

                        V. CONTENTS OF SCHEDULING PROPOSAL

        If the case is not settled or otherwise resolved before the scheduling proposal due date, the
parties must submit a joint proposal that contains the matters set out in this section. Because of
the deadline in Rule 16(b)(2) for issuing a scheduling order, a request for an extension of the
scheduling proposal due date must be supported by good cause.

        If the parties disagree about a particular proposal, they must provide their respective
recommendations and explain their disagreement. The parties must not submit a proposal in the
form of a proposed order; the court enters its own order. Unless a scheduling conference is set,
the court will enter a scheduling order after reviewing the joint proposal. If a party fails to
participate in the proposal process, the court will enter a scheduling order without that party’s
proposals.

       Required Contents.

       The proposal must contain:

       1. proposed deadlines for limiting the time to (a) join other parties; (b) amend the
          pleadings; (c) file motions, including summary judgment and other dispositive
          motions; (d) complete discovery; and (e) designate expert witnesses and rebuttal expert
          witnesses and make the expert disclosures required by Rule 26(a)(2);

       2. the parties’ views and proposals on the matters listed in Rule 26(f)(3)(A)-(F);

       3. under a separate heading, a statement about whether all the parties consent to referring
          this case to a magistrate judge for jury or nonjury trial, pursuant to 28 U.S.C. § 636(c)
          (unless all parties consent, the proposal need not identify the parties who do not
          consent); and

       4. under a separate heading, a statement about whether and when it is advisable to refer
          the case for alternative dispute resolution (see Plan § III) or to conduct a court-
          supervised settlement conference.


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       Permitted Contents.

       The proposal may contain:

           (a) proposed modifications of the timing of disclosures under Rule 26(a) and Rule
           26(e)(1); (b) proposed modifications of the extent of discovery otherwise permitted
           under the Rules; (c) proposals for disclosure, discovery, or preservation of
           electronically stored information; (d) any agreements the parties have reached for
           asserting claims of privilege or of protection as trial-preparation material after
           information is produced, including agreements reached under Fed. R. Evid. 502; (e) a
           proposed procedure for requiring that, before moving for an order relating to discovery,
           the movant must request a conference with the magistrate or district judge; (f) proposed
           dates for pretrial conferences, a final pretrial conference, and trial; and (g) proposals
           pertaining to any other appropriate matters.

                                VI. LOCAL COUNSEL REQUIREMENT

        Unless a party is proceeding pro se, an attorney is exempt under N.D. Tex. Civ. R. 83.11,
or at least one attorney appearing for a party resides or maintains an office in this district, local
counsel is required in this case. See N.D. Tex. Civ. R. 83.10(a). Motions for leave to proceed
without local counsel must be supported by a showing of good cause, and, if an opposing party
has appeared in this case, be accompanied by a certificate of conference that complies with N.D.
Tex. Civ. R. 7.1(b).

                                    VII. AVAILABLE HELP DESKS

        Case information can be obtained from the clerk of court by contacting the ECF Help Desk
at (214)753-2633.

         An attorney, attorney’s staff member, or party proceeding pro se can also obtain answers
to frequently asked questions, or submit case-specific questions to chambers staff, using Judge
Fitzwater’s Chambers Online Help Desk, found at the following Internet address:
http://cf.txnd.uscourts.gov/www2/forms/saf_email.cfm.

       SO ORDERED.

       August 15, 2022.


                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE




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